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Exhibit 1

(Mother’s Mortgage Doc.)
Case 1:20-cr-00045-NDF

BankofAmerica

PO Box 31785
Tampa, FL 33631-3785

TAMMY L SMITH

NAPLES FL 34120-6324

Document 22-2

Filed 05/05/20

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Customer service information

“») Customer service: 800.669.6607

TDD/TTY users only: 800.300.6407

En Espanol: 800.295.0025

Property insurance inquiries: 866.265.3321

) | bankofamerica.com

Account number

Payment due date 05/01/2¢
Total amount due $1,226.91
if payment is received after 05/18/20, $61.34 late fee will be
charged.” i = ;

Your Home Loan Account

Statement date: April 1, 2020

Get real, practical knowledge with Better Money Habits®

Build your financial know-how with free tools and information to help you make more confident decisions on topics like budgeting, reducing debt

and improving credit. Learn more at BetterMoneyHabits.com,

Account information Past payments breakdown 3

2

Property address a Paid since last statement Paid year to date" 3

Loan type Principal $314.77 $1,324.42 e

Contractual remaining term 28 Years, O08 Months Interest $912.14 $3,656.31 2

Principal balance $230,119.36 Fees, charges, and advances $0.00 $0.00 3

Interest rate 4.750% Total $1,226.91 $4,980.73

Prepayment penalty No

Explanation of total amount due

Principal $316.02

Interest $910.89

Regular monthly payment $1,226.91

Current period fees and charges $0.00

Total amount due $1,226.91

"Please see the “Other important information” section of the statement.

DEFENDANT’S

EXHIBIT

1

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TAMMY L SMITH | Acct ending in I | April 1, 2020 Page 2 of 4
Transaction activity (03/03/20 to 04/01/20)

Date Description Charges Payments
03/30/20 Payment Posted - Thank you $1,226.91

Additional contact information

Housing counselor information: _ If you would like counseling or assistance, you can contact the U.S. Department of Housing and Urban
Developrnent (HUD). For a list of homeownership counselors or counseling organizations in your area, go to hud. gov/offices/hsg/sFh/hec/hes.cfm or .
call 800.569.4287.

General Inquiries To mail a payment Overnight mail Property insurance inquiries Property claim inquiries

PO Box 31785 PO Box 650070 Retail Payment Services, Insurance Dept. Bank of America, N.A.

Tampa, FL 33631-3785 Dallas, TX 75265-0070 TX1-160-06-01 PO Box 961291 Attention: Property Claims Dept.
Dallas InfoMart, STE 6020 —- Fort Worth, TX 76161-0291 CA6-921-02-36
1950 N Stemmons FWY Phone: 866.265.3321 450 American St
Dallas. TX 75207-3134 Fax: 800.293.8158 Simi Valley, CA 93065-6285

ihaveinsurance.com/bankofamerica Phone: 800.669.6076

Payments can also be made by Accepts overnight mail only.
phone, online, or at any Bank of tn-person payments are not
America financial center. accepted at this address.

Notice of Error, Requests for information and Qualified Written Requests (as defined in RESPA) must be sent to: PO Box 942019, Simi Valley, CA
93094-2019. You have certain rights under federal law to resolve errors and request information related to your account. Fer more information about
these rights, you can go to bankofamerica.com or contact us.

Payment processing information

ae The following payment options are available to you:

¢ PayPlan - With PayPlan, you can have your mortgage payments automatically drafted from your checking or savings account. If paying from a non-Bank
of America account, there may be a fee up to $4 per transaction. Call us at 866.767.4131 for more details or to enroll.

¢ Online Banking and Mobile Payments - With these options, you can make your monthly mortgage payment at any time. Visit us online at
bankofamerica.com for more details.

* Mortgage Pay on the Web (MPW) - This service allows you to make your monthly mortgage payment through Online Banking. With MPW, there is no
fee when paying from a Bank of America checking or savings account. If paying from a non-Bank of America account, there is no fee as long as you pay
during the first half of your grace period; however, a $6 fee will be charged if you pay during the second half of your grace period.

e Pay By Phone - This service allows you to pay your monthly mortgage payments by phone either through our automated service or through a customer
service representative.

Crediting of Payments - We credit mailed payments as of the date received, if the payment is: (1) paid with a check payable to Bank of America, N.A, and
drawn in U.S. doflars on a U.S. financial institution or a U.S. dollar money order that includes your loan number on the check or money order; (2) sent with the
payment coupon; and (3) received at the payment address on the payment coupon or another acceptable payment address designated on this statement by 5
p.m., Monday through Friday, excluding federal holidays, in the time zone of the payment address. Payments received through means other than mail, such as
PayPlan, Online Banking and Pay By Phone, will be credited to your account in. accordance with the terms and conditions of those services. Payments that fail
to meet applicable requirements may result in crediting delays or may be returned. If your loan is in default, bankruptcy or foreclosure, this may impact our
ability to credit your payments. In addition, one or more payment services may be unavailable and you may be required to pay with certified funds or other
forms of payment.

Payments Made by Check - We process most payment checks electronically by using information found on your check. Each check authorizes us to create a
one-time electronic funds transfer (or process it as a check or paper draft). We will not return your check to you, If your check does not clear upon initial
presentment, we may attempt to withdraw funds from your account electronically one or more times. Postdated checks will be processed on the date
received, unless we agree to honor the date written on the check as a condition of a repayment plan.

Application of Payments - In general, payments will be applied as described in your loan documents (including any loan modifications), subject to applicable
law and any other requirements, such as investor and insurer/guarantor requirements. Periodic payments received and accepted will first be applied to the
longest outstanding periodic payment due. If your loan is not current and you submit additional arnounts with a periodic payment, the additional amounts will
be applied to your outstanding periodic payments until your periodic payments are paid current and then applied to fees or other amounts owed on your
account before applying the remaining additional amounts as you instructed. IF your loan is not current and the additional amounts you submit with a periodic
payment are insufficient to bring your outstanding periodic payments current, then the remaining additional amounts will be posted to your unapplied funds
account. If your loan is current and you submit additional amounts with your current periodic payment due, the additional amounts will be applied to fees or
other amounts owed on your account before applying the remaining additional amounts as you instructed, or, if no instructions are provided, they will be
applied to the principal balance of your loan.

Bant af America KA Mombar ERIC FE% Bacal bancing Landae EF0N Baie at Amaricy fo aeraration
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 4 of 34

eZ
TAMMY L SMITH | Acct ending in { April 1, 2020 Page 3 of 4

Paying Your Loan Ahead - We allow you to prepay your periodic payments one month in advance. If you want to prepay more than one periodic payment,
please contact us. Without written instructions from you, any attempt to prepay more than one periodic payment on your loan will result in your payments
being applied to the principal balance of your loan.

Partial payment policy - A partial payment is a payment that is less than your periodic payment amount due. Depending on a number of factors including
the requirements of your loan documents, applicable law and the delinquency status of your loan, a partial payment may be (1) returned to you, (2) applied to
your loan, or (3) accepted but held in a non-interest-bearing unapplied funds account for a period of time until you send us additional funds sufficient to equal
a full periodic payment due. If your periodic payments are paid current and you submit a partial payment, the partial payment will be applied as you instructed,
and, if not instructed, it will be applied first to fees or other amounts owed on your account and the remainder will be applied to the principal balance of your
loan. If, for any reason, we're unable to apply a partial payment to your loan as you instructed, we may return the payment, If your loan is not current and your
loan documents permit us to hold a partial payment in a non-interest-bearing account, we'll do so until you send us additional funds to equal a periodic
payment. If your loan is in default and declared due and payable or your loan is in foreclosure, we may be unable to apply a partial payment to your loan and
may hold it in a non-interest-bearing unapplied funds account or return it.

Interest calculation - For all full-month payment periods, interest is calculated on a monthly basis. Accordingly, interest for all full months, including
February, is calculated as 30/360 of annual interest, regardless of the actual number of days in the month. For partial months, interest is calculated daily on
the basis of a 365-day year.

Other important information

Fees associated with special services and loan payoff - The following fees are the maximum fees that may apply if certain special services are
requested regarding the mortgage or home equity loan.

» Payoff Statement via Facsimile Fee (FHA only) (faxing a payoff statement) $5.00*

- Expedited Payoff Service Fee/Payoff Demand Fee (expediting a payoff statement/demand) $5.00*

*There is no charge for mailing the payoff statement/demand by regular U.S. mail.

If the loan is paid off or refinanced, there may be a fee of up to $100 for the preparation of the documents to release the lien (this is sometimes called a
reconveyance fee), There may also be a fee to record this release document (in the amount of the actual fee charged by the county recorder, normally not
more than $125). In addition, if there is a home equity line of credit or home equity loan that is subject to an annual maintenance fee, a termination fee or an
early closure fee, this may be charged an annual fee, a termination fee or an early closure fee as described in the Agreement or Note.

If information or a service not listed above is requested during the routine servicing of the home loan, we will inform of any applicable fee prior to processing
the request.

Please also be aware that, in the event a monthly payment remitted is returned by the financial institution, a Returned Item fee of up to $40.00 will
automatically be applied to the loan account. A late charge may be assessed if the mortgage payment is not received by the deadline and are unable to make
the payment within the grace period. The amount of the late charge will not be greater than what is permitted by applicable state legal restrictions or as
described in the Agreement or Note.

Amount due on 05/01/20 $1,226.91
Late fee will be charged after 05/18/20" $61.34
BANK OF AMERICA, N.A.
PO BOX 650070
DALLAS, TX 75265-0070

Additional s
principal ce
TAMMY L SMITH

Property address: = | : | ce
a scenes = : 3 2 :

Total enclosed i A

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TAMMY L SMITH | Acct ending in | April 1, 20620 Page 4 of 4

In addition, there may be fees for certain services related to the servicing of the loan. These fees are either listed on our website or will be quoted upon
request All fees are subject to change without prior notice. -

Debt Collection Notice - Bank of America, N.A. is required by law to inform you that this communication is from a debt collector.

Bankruptcy Notice - |f you are currently in a bankruptcy proceeding or have previously received a discharge of this debt under bankruptcy law, this notice is
being sent to yau for informational purposes only and is not an attempt to collect a debt, a demand for payment, a request on an obligation or an attempt to
impose personal liability upon you for a discharged debt.

Additional help for homeowners in hardest hit states - You may be eligible for mortgage assistance through a Hardest Hit Fund program, To learn
more, please visit bankofamerica.com/HHF.

Credit reporting notice - We may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your
account may be reflected in your credit report.

Late Fee - The Late Fee shown on this statement may not be charged in limited circumstances, such as: changes to your account relating to loan
modification trial plans, foreclosure, bankruptcy, natural disaster, and special forbearance on your loan, or due to applicable State or Federal law requirements.

Paid year-to-date - Balances in the “Past payments breakdown” section shouldn't be used for year-end tax reporting. Please use the information on IRS
Form 1098, which will be provided during tax season, for reporting purposes. Balances for loans that have been service-transferred or have undergone
modification may reflect activity that has occurred since the date of transfer or modification only.

Payoff - You can request a payoff quote by calling 800.669.5833. If a third party will be requesting a payoff quote on your behalf, you must authorize the
third party to make the request. A fax fee may apply if you or a third party want the payoff quote faxed. If so, the amount of the fee will be disclosed at the
time the expedited delivery is requested. IF we receive payoff funds greater than the amount required to pay off your loan, we'll process and mail a refund of
the overage to your mailing address on our Joan servicing system within 20 business days of the payoff. You can update your mailing address on our loan
servicing system by calling customer service or through Bank of America’s Online Banking service available on our website at bankofamerica.com.

Statement information - The information contained in this statement is accurate as of the date of this statement but may not contain all information
related to your loan. For the most up to date and complete information regarding your loan, please contact customer service.

EI You can make your payment:

By automatic draft payment using PayPian For checks or money orders
+ — Online at bankofamerica.com + Make your check payable to Bank of America, N.A.
- — By phone - call 800.669.6607 - Please write your loan number on the check or money order.
+ At any Bank of America financial center + Include this payment coupon with your check (do not staple your check to the coupon).
+ By mail using the enclosed envelope + Please do not send cash or include correspondence.

Use blue or black ink.

Bank of America, NA., Member FDIC. €8Y Equal Housing Lender ©2020 Bank of America Corporation.

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Case 1:20-cr-00045-NDF Documen t22-2 Filed 05/05/20 Page 6 of 34

Exhibit 2

(Flight Itinerary for flight
from Florida to Wyoming
District Court.)
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page

M™1 Gmail

Fwd: eTicket Itinerary and Receipt for Confirmation ATJENJ

DEFENDANT'S
EXHIBIT

EE oncast.nct Sun, Apr 5, 2020 at 9:22 AM
To: Guillermo Lara iii

Cody Wyoming confirmation ticket

Kindest Regards,

Tammy Smith

From: United Airlines, Inc.

To: T Smith

Sent: April 5, 2020 at 9:48 AM

Subject: eTicket Itinerary and Receipt for Confirmation ATJENJ

UNITED

Sun, Apr 05, 2020
Thank you for choosing United.
A receipt of your purchase is shown below. Please retain this email receipt for your records.

Note: There are travel restrictions in place due to the coronavirus. Check our Important notices
oage for the latest updates

Confirmation Number:

ATJENJ

Flight 1 of 6 UA2029 Giass: Unite d Economy (N

Mon, May 18, 2020 Mon, May 18, 2020
Fort Myers, FL, US (RSW) Houston, TX, US (IAH)
Flight 2 of 6 UA181 Ciass: United Economy (N)
Mon, May 18, 2020 Mon, May 18, 2020

10:20 AM 11:56 AM
Case 1:20-cr-00045-NDF Document 22-2

Houston, TX, US (IAH)

Flight 3 of 6 UA5163

Mon, May 18, 2020

01:19 PM

Denver, CO, US (DEN)

Flight Operated by Skywest Airlines dba United Express.

Flight 4 of 6 UAS131

Wed, May 20, 2020

06:05 AM

Laramie, WY, US (LAR)

Flight Operated by Skywest Airlines dba United Express.

Flight 5 of 6 UA1864

Wed, May 20, 2020

07:50 AM

Denver, CO, US (DEN)

Flight 6 of 6 UA1408

Wed, May 20, 2020

12:30 PM

Houston, TX, US (IAH)

Traveler Details

SMITH/CODYDONOVAN
eTicket number: 0162312105915

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Denver, CO, US (DEN)

Ciass: United Economy (N)

Mon, May 18, 2020

02:11 PM

Laramie, WY, US (LAR)

Class: United Ecanomy (N}

Wed, May 20, 2020

07:04 AM

Denver, CO, US (DEN)

Class: United Economy (N)

Wed, May 20, 2020

11:14 AM

Houston, TX, US (IAH)

Class: United Economy (N)}

Wed, May 20, 2020

03:47 PM

Fort Myers, FL, US (RSW)

Seats: RSW-IAH -----
JAH-DEN -----

DEN-IAH -----
IAH-RSW -----
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 9 of 34
Purchase Summary

Method of payment: Visa ending ni
Date of purchase: Sun, Apr 05, 2020
Airfare: 247.44 USD
U.S. Passenger Facility Charge: 18.00 USD
September 11th Security Fee: 11.20 USD
Total Per Passenger: 276.64 USD
Total: 276.64 USD
Fare Rules

Additional charges may apply for changes in addition to any fare rules listed.
NONREF/NOCBBG/NOASR

Baggage allowance and charges for this itinerary

Origin and destination for checked . Istbag 2nd bag 1st bag weight and 2nd bag weight and
baggage charge charge dimensions dimensions

Mon, May 18, 2020 i
Fort Myers, FL, US (RSW) 35 USD 45 USD 50lbs(23kg) - 62in(157cm) — 50lbs(23kg) - 62in(157cm)
to Laramie, WY, US (LAR) :

Wed, May 20, 2020
Laramie, WY, US (LAR) . 85USD 45 USD 50\bs(23kq) - 62in(157cm) © SOlbs(23kg) - 62in(157cm)
to Fort Myers, FL, US (RSW)

Important Information about MileagePlus Earning

e Accruals vary based on the terms and conditions of the traveler’s frequent flyer program, the traveler's frequent flyer status and the
itinerary selected. United MileagePlus® mileage accrual is subject to the rules of the MileagePlus program

e Once travel has started, accruals will no longer display. You can view your MileagePlus account for posted accrual

e You can earn up to 75,000 award miles per ticket. The 75,000 award miles cap may be applied to your posted flight activity in an
order different than shown

e Accrual is only displayed for MileagePius members who choose to accrue to their MileagePlus account.

e Our Premier Program changes January 1, 2020. If your itinerary includes travel with a scheduled departure in 2020, you may see our
old Premier accrual metrics if

1) you booked prior to May 1, 2019 and are viewing an emailed receipt or 2) you booked prior to August 1, 2019 and are viewing a
receipt online. The terms and conditions of Premier qualification can be found at united.com/qualify.

eTicket Reminders

e Check-in Requirement - Bags must be checked and boarding passes obtained at least 45 minutes prior to scheduled departure.
Baggage will not be accepted and advance seat assignments may be cancelled if this condition is not met.

EXCEPTION: When departing from Anchorage, Atlanta, Austin, Baltimore, Chicago, Cincinnati, Cleveland, Dallas/Ft. Worth, Denver,
Detroit, Fort Lauderdale, Greenville-Spartanburg, Guam, Honolulu, Houston, Indianapolis, Jacksonville, Kona, Las Vegas, Los Angeles,
Maui, Miami, New York (LGA), Newark, Orange County (SNA), Orlando, Philadelphia, Phoenix, Pittsburgh, Raleigh/Durham, Reno, San
Diego, San Francisco, San Juan, PR (60 minutes), Savannah, Seattle, St. Louis, St. Thomas, U.S. Virgin Islands (60 minutes), Tampa,
Washington, DC (both !AD and DCA), the check in requirement time for Passengers and Bags is 45 minutes except where noted.
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Exhibit 3

(Cody Smith 2018 Taxes)
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 11 of 34

1040 Tax Return Summary 2018

Taxpayer

CODY D SMITH

Naples, FL 34120

2018 Federal Return Information Prepared: 02-24-2019

Filing Status: Single
Number of Personal Exemptions: 0
Wages, Salaries, Tips, etc.: $ 7,611
Total Income: $ 7,611
Total Adjustments: $ 0
Adjusted Gross Income: $ 7,611
Total Deductions: $ 7,961
Exemption Amount: S 0
Taxable Income: $ 0
Tax (before credits): $ 0
Total Non-Refundable Credits: $ 0
Tax (after credits): $ 0
Earned Income Credit: $ 0
Total Payments & Refundable CreditsS 586
Amount You Overpaid: $ 586
Your Tax Refund: $ 586
Refund You Applied to 2019: $ 0
Amount of Tax Owed (balance due): $ 0
Tax Rate (percentage): 10

DEFENDANT’S
j EXHIBIT

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21040

Case 1:20-cr-00045-NDF

Department of the Treasury-Internal Revenue Service

U.S. individual Income Tax Return

Document 22-2
(99)

Filed 05/05/20

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Page

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(RS Use Only-Do not write or staple in this space.

Filing status: [x] single

[] Married fiting jointly [_] Married filing separately [_] Head of household [_| Qualifying widow(er)

Your first name and initial Last name Your social security number
CoDY D SMITH
Your standard deduction: kx] Someone can claim you as a dependent C] You were born before January 2, 1954 [] You are blind

If joint return, spouse's first name and initial

Last name

Spouse's social security number

Spouse standard deduction: C] Someone can claim your spouse as a dependent

oO Spouse is blind

[1] Spouse was born before January 2, 1954
Oo Spouse itemizes on a separate return or you were dual-status alien

Oo Full-year health care coverage
or exempt (see inst.)

Home address (number and street).

Apt. no.

Presidential Electlon Campaign
(see inst.) Oo You Oo Spouse

City, town or post office, state, and ZIP code. If you have a foreign address, attach Schedule 6.
Naples, FL 34120

i more than four dependents,
see inst. and check here >

Dependents (see instructions):

(1) First name

Last name

(2) Social security number

{3) Relationship to you

(4) Check if qualiftes for (see inst.):

Child tax

credit Credit for other dependents

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OJ

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Sign

Under Po eon of periury, \ declare that | have examined this retum and

and

panying

Its, and to the best of my knowledge and belief, they are true,

H ere correct, and of prep: (other than texpayer) & based on all information of which preparer has any knowledge.
Joint return? Your signature Date Your occupation If the [RS sent you an Identity Protection
See instructions. . PIN, enter it
Keep a copy for 02-24-2019 | Lifeguard ‘here {aoe inst) | | |
your recards. ature. If a joint return, both must sign. Date Spouse's occupation Hine IAS sent you an Identity Protection
. Preparer's signature PTIN Firm's EIN Check if:
Paid ms Css Pay Doe
ines
Preparer Fl sai ne .
-Sm
Use Only Preparer's name Phone no. oy!
Firm'sname = >
Firm's address,
For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions. Form 1040 (2018)
Form 1040 (2018) Page 2
1 _- Wages, salaries, tips, etc. Attach Form(s) W-2 2 2 ee eee eee ce revere ere cnccens 1 7,611
Tax-exempt interest... . 2a b Taxable interest 2. 2 0 2b
Attach Form(s) eet gn : e
W-2, Also attach a «=«- Qualified dividends... s 3a b Ordinary dividends .... 3b
ee tonne 4a IRAs, pensions, end annuities e 4a b Taxable amount . es. «+ 4b
withheld. 5a Social security benefits + « « Sa b Taxable amount ... + « Sb
6 Total income. Add lines 1 through 5. Add any amount trom Schedule 1, line 22 ene eww ee 6 7,611
7 Adjusted gross income. If you have no adjustments to income, enter the amount from line 6; otherwise,
StandaradStCi subtract Schedule 1, line 36,fromline6 sess cece rece ewe errr ee nesasaee 7 7,611
Deduction for. = g_~— Standard deduction or itemized deductions (trom Schedule A). - 2 + 2s eee ee eee eees 8 7,961
“ar coparaten, 9 Qualified business income deduction (see instructions). 2 ee ee ee ee ce ee ee eee eee 9
$12,000 10 =‘ Taxable income. Subtract lines 8 and 8 from line 7. Ifzero orless,enter-0- 2. 2 ee eee eee eens 10 0
+ Married tili cl
vom or avattying 11 a Tax (see inst) Oany trom: i Form(s) 8814 2C] Form 4972 3L] )
vane b Add any amount from Schedule 2andcheckhere ++ +e eee ee eee eee ee eee Pm 0 [1 Q
+ Head of 12 @ Child tax eredit/credit for other dependents bAdd any amount from Schedule 3 & check here > 0 12 0
eee 13 Subtract line 12 from line 11. Ifzero orless,enter-0- ssc cece eee ee vere rcs cene 13 °
* tt you checked 14 Other taxes. Atlach Schedule4 6 ww we eer ere een eee eee nner e eee seoes 14
eryboxunder 145 = Totaltax.Addiines 13and14 2. sees cece sere cree ere eer ereceeee | 15 0
deduction, 16 Federal income tax withheld from Forms W-2. and 1099 6 eee ee ew ee emer eee eee ene 16 586
Seo instruchons.
17 Refundable credits: a EIC (see inst.) b Sch 8812 © Form 8863
Add any amount from Schedule 5 Coe eee ewww wear weer ee eenee 17
18 Add lines 16 and 17. These are your totalpayments sw 2 2 sw ww we ee eee ee ew eee eee 18 586
Refund 19 If line 18 is more than line 15, subtract line 15 from line 18. This is the amount you overpaid =... se « 19 586
20a Amount of line 19 you want retunded to you. If Form 8888 is attached, check here. 6 eo 2 2 ao O 20a 586
Direct deposit? =® b Routing number Sa
See instructions. 9 fl vings
d= Account number
21 Amount of line 19 you want applied to your 2019 estimated tax. . >
Amount You Owe 22 Amount you owe. Subtract line 18 from line 15. For details on how to pay, see instructions « 2... ..

23

Estimated tax penalty (see instructions)

ee ee eee ec eee »

23

Goto www.irs.gov/Form 1040 for instructions and the latest information.

Form 1040 (2018)
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Federal Income Tax Withheld 2018 PGOl1

Name(s) as shown on retum Your Social Security Number
Description Amount
393

W2 - Board Of County Commissioners

W2 - FRANKCRUM 12 INC 193

Total Withholdings 586

WITHHELD,.LO
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 14 of 34

Standard Deduction Worksheet for Dependents - Line 8
Form 1040 (Keep for your records) 2018

Name(s) as shown on retum :
CODY D SMITH

Use this worksheet only if someone can claim you, or your spouse if filing jointly, as a dependent.

1. Check if: OU You were born before January 2, 1954 7

1) You are blind . Total number of boxes
(J Spouse was born before January 2, 1954 checked 2... ..000008 1
C1 Spouse is blind J

2. ls your earned income* more than $700.

Yes. Add $350 to your earned income. Enter the total
[] No. Enter $1,050

3. Enter the amount shown below for your filing status.
®@ Single or married filing separately —$12,000 7
® Marrled filing jointy—$24,000 het ee wee eee 12,000
® Head of household—$18,000

Pr wee ee eee eee 7,961

4, Standard deduction.

a. Enter the smaller of line 2 or line 3. If born after January 1, 1954, and not blind, stop here and enter °

this amount on Form 1040, line 8. Otherwise,go onto line4b fw ee we eee ee ee ee eee ee te ee 4 7,961
b. If born before January 2, 1954, or blind, multiply the number on line 1 by $1,300 ($1,600 if single or

headofhousehold) 2.2 cee wee ee ree ere eee cr ewww erence resets eee s ens AD
c. Add lines 4a and 4b. Enter the total here and on Form 1040, line 8 wee eer cere rea eee eee ree s KE

* Earned income includes wages, salaries, tips, professional fees, and other compensation received for personal services you performed. It also
includes any taxable scholarship or fellowship grant. Generally, your earned income is the total of the amount(s) you reported on Form 1040, line 1,
and Schedule 1, lines 12 and 18, minus the amount, if any, on Schedule 1, line 27.

WK_STDED.LD
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 15 of 34

Account Transaction Summary | 2018

Name(s) as shown on retum Your {D Number

Account #1
Financial Institution Name Bank Of America

Routing Transit Number
Account Number

Account Type Savings
Federal Deposit 586
Net Deposit 586

PLEASE VERIFY BANK INFORMATION
1. Bank Name

2. Bank Routing Transit Number

3. Bank Account Number

4. Bank Account Type

This informaticn is used to deposit your refund or to pay any amount due. If you have provided incorrect information,
or you have closed the account, you are responsible.

| have reviewed the above information and certify that this information is correct and authorize
to use this account.

Your Signature Date Spouse's Signature (If Married Filing Jointly) Date

DD_PMT.LD
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 16 of 34

Exhibit 4

(Cody Smith Enlistment
Documents for NAVY. }
Document 22-2 Filed 05/05/20_ oP

Case 1:20-cr-00045-NDE

NAME OF ENLISTEDREENLISTEE - aes

(Last, First Midela)

D. CERTIFICATION AND ACCEPTANCE

es acceptance for enlistment is based on the information. |
10n 18 false or incorrect, this enlistment may be voided or terminated administ

_ *¥2 Federal, civilian, or miltary court and, found guilty, may be punished,

i if any of that |
fatively by the Government or | may be tried

ing United States laws in Section
aa an plained to my satistaction. { fully understand |
Rene cies are Seater Section C ment or recorded on the attached annex(es} will be |
> y other promises or guarantees made to me b i

Section B or the attached annex(es) are not effective and willnotbe honored, _ : oe eS

b. SIGNATURE OF ENLISTEE/REENLISTEE i
Biometrically Signed Zz

14. SERVICE REPRESENTATIVE CERTIFICATION a :
a. On behalf of the United States (list branch of service) NAVY
i accept this applicant for enlistment. | have witnessed the Signature in item 13b to this document. | certify that | have explained.

that only those agreements in Section B of this form and in the attached Anne if a 4 fe oe :
: nnex(es) will be honored, : i
by any person are not effective and will not be honored, ee ee ee ae

6. DATESIGNED pYvvauDD)

20190509 16:48:24

b. NAME (Lasl, First, Middle} c. PAY GRADE d. UNIT/COMMAND NAME
HART JOHN J \E-5 USN RECRUITING DISTRICT

e, SIGNATURE 1, DATE SIGNED g. UNIT/COMMAND ADDRESS (C4, State, ZIP Code)
Biometrically Signed 20190509 16:48:24 FL 33166-0000

E. CONFIRMATION OF ENLISTMENT OR REENLISTMENT

15. IN THE ARMED FORCES EXCEPT THE NATIONAL GUARD (ARMY OF Ain):

|, CODY DONOVAN SMITH , do solemnly swear (or affirm) that | will support and defend
the Constitution of the United States against all enemies, foreign and domestic; that | will bear true faith and allegiance to the same;
and that | will obey the orders of the President of the United States and the orders of the officers appointed over me, accardingto =
regulations and the Uniform Code of Military Justice. So help me God.

16. IN THE NATIONAL GUARD (ARMY OR AIR):
{ , do solemnly swear (or affirm) that | will support and defend

the Constitution of the United States and the State of against all enemies, foreign and
domestic; that | will bear true faith and allegiance to the same; and that | will obey the orders of the President of the United States
and the Governor of and the orders of the officers appointed over me, according to law

and regulations. So help me God.

17. IN THE NATIONAL GUARD (ARMY OR AIR):

| do hereby acknowledge to have voluntarily enlisted/reeniisted this day of ;
in the National Guard and as a Reserve of the United States (ist branch of service)

with membership in the

Nationa! Guard of the United States for a period of years, months,
conditions prescribed by law, unless sooner discharged by proper authority.

days, under the

b, DATE SIGNED (YYYYMMDO)

| 20190509 17:54:40

18.2. SIGNATURE OF ENLISTEE/REENLISTEE

Biometrically Signed *
79, ENLISTMENT/REENLISTMENT OFFICER CERTIFICA

) before me this date.

t inistered, subscribed, and duly sworn to (or affirmed
= eee —— — c. PAY GRADE d, UNIT/COMMAND NAME
CARABALLO ASHLEY M 0-3 TAMPA MEPS
j , DATE SIGNED g. UNIT/COMMAND ADDRESS (City, State, ZIP Code) __
e. SIGNATURE eae ies
Biometrically Signed my) 20190509 17:54:40 FL 33614-2716

(initials of Enlistee/Reeniistes) Biometrically Signed
DD FORM 4/2, OCT 2007

PREVIOUS EDITION |S OBSOLETE DEFEND ANT’S
FOR OFFICIAL USE ONLY EXHIBIT

Aa

Case 1:20-cr-00045-NDFE Document 22-2 _ Filed 05/05/20

AUTHORITY: 5U.S.C. 3331: i0USC { ue —

3258, 3282. 5540, 8252 8253, 8257 8258, 121
- * » Ay . , 02. i
632; 32 U.S.C. 801, aod, 303, 304, and Executve Order S307, Movember 1eaent

PRINCIPAL PURPOSE(S): To record enlistm ment | _ Armed muttion bee

Hi t 27 ent of reeniistment into ihe U.S, A *DYCeS Bi lon be 5 £
oon Poe ee records which are used to document promotion, SOLepARa en ieee oe ee
actions. The purpose of soliciting the SSN is for posttiva identification. ee oe
eee i EYEE): This form becomes a part of the Ser ice's Enlisted Master File.

Field Personnel File. Ali uses of the form are internal te the
DISCLOSURE: Voluntary; however, failure to fumish personal identitication information may negate the enlistment/resnlistment application.

A. ENLISTEE/REENLISTEE IDENTIFICATION DATA

1, NAME (Last, First, Micale)
SMITH

CODY DONOVAN a ee
3. HOME OF RECORD (Steel. City. County, Stale, Gountry, ZIP Goda)

@. PLACE OF ENLISTMENT/REENLISTMENT (MMi Insialaion, Cry, State)
TAMPA MEPS Hae a

TAMPA, FL 33614-2716
5. DATE OF ENLISTMENT/ 6. DATE OF BIRTH prvyymioo) | 7 v
BE onLeteene on f ) . PREV MIL SVC UPON ENUREENLIST | YEARS |MONTHS| DAYS

a. TOTAL ACTIVE MILITARY SERVICE
20190509 ht b. TOTAL INACTIVE MILITARY SERVICE
B. AGREEMENTS
8. | am enlisting/reenlisting in the United States list branch of service) NAVAL RESERVE _

this date for Bo. years and 0 weeks beginning In pay grade - E-1 - of which
4 years and 0 weeks is considered an Active Duty Obligation, and 4 years and
0

weeks will be served in the Reserve Gomponent of the Service in which | have enlisted. If this is an initial
enlistment, | must serve a total of eight (8) years, unless | am sooner discharged or otherwise extended by the appropriate
authority. This eight year service requirement fs called the Military Service Obligation. The adcitional details of my enlistment’
reenlistment are in Section C and Annex(es) fist name of Annex(es) and describe)

A :

a. FOR ENLISTMENT IN A DELAYED ENTRY/ENLISTMENT PROGRAM (DEP): :
| understand that | am joining the DEP. | understand that by joining the DEP | am enlisting In the Ready Reserve component of the
United States {list branch of service) Navy for a period not to exceed

365 days, unless this period of time is otherwise extended by the Secretary concerned, While in the DEP, | understand that | am in
a nonpay status and that | am not entitled to any benefits or privileges as a member of the Heady Reserve, to include, but not
limited to medical care, liability insurance, death benefits, education benefits, or disability retired pay if | incur a physical disability. |
understand that the peried of time while !| am in the DEP is NOT creditable for pay purposes upon entry into a pay status. However,
| also understand that the period of time while | am in the DEP is counted toward fulfillment of my military service obligation
described in paragraph 10, below. While in the DEP, | understand that! must maintain my current qualifications and keep my
recruiter informed of any changes in my physical or dependency status, qualifications, and mailing address. | understand that |

WILL be ordered to active duty unless | report to the place shown in item 4 above by (list date (YYYYMMOD)) 20200302 0600
for enlistment in the Regular component of the United States (list branch of service) NAVY

for not less than 4 years and 0 weeks.
b. REMARKS: (none, so state) NONE

c, The agreements in this section and attached annex(es) are all the promises made fo me by the Government. ANYTHING ELSE
ANYONE HAS PROMISED ME !S NOT VALID AND WILL NOT BE HONORED.
{initials of Enlistee/Reeniistee) Biometrically Signed
DD FORM 4/1, OCT 2007 PREVIOUS EDITION 1S OBSOLETE.

'
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{Continued on Page 2,

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Exhibit 5-11

(Affidavits from family and
Friends. )
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 20 of 34

Affidavit Index:

Exhibit 5: Affidavit from Mother willing to sign as a 3"¢ party
custodian.

Exhibit 6: Affidavit from Father assuring employment and
support.

Exhibit 7: Affidavit form Grandfather assuring support and
willingness to sign as 34 party custodian.

Exhibit 8: Affidavit from Grandmother assuring support and
willingness to sign as 3" party custodian.

Exhibit 9: Letter from family friend.
Exhibit 10: Affidavit from paternal Grandmother.

Exhibit 11: Letter from Christy Hamm that has known him his
entire life.
Case 1:20-cr-O0045-NDF Document 22-2 Filed 05/05/20 Page 21 of 34

DEFENDANT’S
i EXHIBIT

sae

AFFIDAVIT OF FACT OF

STATE OF TEXAS, )
)
COUNTY OF BEXAR )

I, TAMMY LYNN SMITH, declare under penalties of perjury that according to my
belief the foregoing information and allegations of this Affidavit are true and correct, and I
hereby say:

l. Iam Tammy Smith and my DOB is aa

2. I have personal knowledge of the facts stated in this affidavit.
3. I have not been compelled or threatened to sign this statement in any manner.
4. I am signing this statement knowingly, voluntarily, and freely.

3. Cody Smith is accused of Kidnapping and Abusive Sexual Contact.

6. Attorney Guillermo Lara Jr. is representing Cody Smith.

% Cody Smith is my son and he has lived in the United States all his life. We have
lived in Collier County all his life. | have worked for several years and can provide
all income tax returns necessary for verification of my employment and payments |
have made on my property. I presently reside at Naples, Florida
34120.

8. Before his arrest on March 29, 2020, we hadn’t received any indication that my son
was being accused of these crimes. At the time the search warrant was executed,
Cody was in Texas at Fort Sam Houston. Cody was in the process of beginning the
last stretch of his training for his position as a medic for the Navy. Prior to Cody
living in Texas, he has lived with me at MM Florida 34120.
My family and I have lived in Collier County for several years and have no
intention of leaving this location. Cody is a good member of our community and
has never been in any trouble. I know for a fact that Cody is not a threat to anyone
and there must be some misunderstanding. We stand behind Cody and know he
will comply with any conditions this Court may set. Cody is a good son and is very
responsible. We are simply asking for this Court to allow him the opportunity to be
released on bond so that he can face these charges. I have always taught my family
to face your problems and know Cody is not a flight risk. We all believe in Cody. I
believe in Cody so much that I am willing to use my property as collateral to assure
he complies with all conditions. I am even wiling to sign as a 3“ party custodian. I
have spoken with my parents and they are both willing to sign as a 3™ party
custodian as well. In fact, they are both willing to put any property as collateral to
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 22 of 34

assure Cody receives a bond.

9. Growing up, Cody has always been responsible and has never given our family any
issues. I have always worked hard to lead by example and have always been proud
to say that Cody is a hard working young man. I know that my son will comply
with all conditions of release and would mortgage our home to allow him the
opportunity to be released on bond while he tends to this case. At this time, our
house is valued at approximately $350,000 and I have no doubt that Cody will
attend every court date now that he knows he has court. I do however understand
the seriousness of the charges against Cody. That being said, I would assure this
court that if Cody is given an opportunity to be released on Bond that I would be
responsible for assuring that he complies with his conditions and report any
activity that may be out of the ordinary. It would mean a great deal to our family to
have Cody at home. My son will live under my roof at SEE 20's,
Florida 34120.

10. Mr. Lara has clearly explained to me that by signing for my son, Cody Smith, I am
telling this court that if he violates any conditions of release I will be responsible
for the sum of any unsecured bond and may even lose my home. I know he will
comply and I am willing to take that chance.

Further affiant says not.
Tammy Smith
Pursuant to 28 U.S.C. § 1746, and Texas Civil Practice and Remedies Code § 132.001-132.003,
I, Tammy Smith hereby declare that Iam Tammy Smith, am over the age of 18 years, and am
competent to make this affidavit. I have not been forced to sign this declaration or affidavit, and
to the best of my knowledge, all assertions in this declaration and affidavit are correct and true.

Si wo April 3 {_, 2020

nA

Tammy Sréieh
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 23 of 34

DEFENDANT'S
EXHIBIT

o

AFFIDAVIT OF FACT OF
STATE OF TEXAS,

COUNTY OF BEXAR

I, Donovan Smith, declare under penalties of perjury
that according to my belief the foregoing information and
allegations of this Affidavit are true and correct, and I
hereby say:

1. Iam Donovan Smith and my DOB ci

2; I have personal knowledge of the facts stated in this
affidavit.

%. I have not been compelled or threatened to sign this
statement in any manner.

4, J am signing this statement knowingly, voluntarily,
and freely.

3. Cody Smith is accused of Kidnapping and Abusive
Sexual Contact.

6. Attorney Guillermo Lara Jr. is representing Cody
Smith.
hs Cody Smith has occasionally worked with me from

time to time and is my son. Cody Smith has always
been a hardworking young man and great son.

8. Before being arrested on March, 29, 2020, I was not
aware of charges against my son.

9. My son has occasionally helped me with my
business at Close Up Creatures LLC. I would be more
than willing to offer him employment should he be
provided a bond with conditions. My son is a hard
working individual. Although his mother and I are
separated, we continue to be proud of his
accomplishments. Cody recently graduated from the
Naval Academy and had dreams of serving the Navy as
a medic. Cody is only 20 years old but he has a good
head on his shoulders and was making great progress
in accomplishing his dreams. Although he hasn’t
:20-Cr- - ment 22-2 Filed 05/05/20 Page 24 of 34
Sh GiAeE Lor Iie Ola pernanelit OASIS, | KNOW {he

quality of work that he can produce. On the days that
he has worked with me he has always been on time and
has never complained about working in the heat. Cody
is a great son and is a hard working person. In all the
years I have known him, I know he has always tried to
do right. I was shocked to hear about the accusations
against my son and know there must be a
misunderstanding. My son is not a threat to anyone and
I support him 100%. I know that as a family we will
get through this and Cody will attend every Court date
to prove his innocence.

Further affiant says not.

Donovan Smith
Pursuant to 28 U.S.C. § 1746, and Texas Civil Practice and
Remedies Code § 132.001-132.003, I, Donovan Smith hereby
declare that I am Donovan Smith I am over the age of 18 years,
and am competent to make this affidavit. I have not been forced
to sign this declaration or affidavit, and to the best of my
knowledge, all assertions in this declaration and affidavit are
correct and true.

Signed on Br / 7 , , 2020

ys

Donovan Smith

Case 1:20-cr-O0045-NDF Document 22-2 Filed 05/05/20 Page 25 of 34

STATE OF TEXAS,

COUNTY OF BEXAR

i EXHIBIT
7}

DEFENDANT'S

AFFIDAVIT OF FACT OF

)
)
)

I, LEONARD K. BARSHINGER, declare under penalties of perjury that according to my

belief the foregoing information and allegations of this Affidavit are true and correct, and I
hereby say:

Li

2.

3.

4.

I am Leonard K. Barshinger and my DOB is a

I have personal knowledge of the facts stated in this affidavit.

I have not been compelled or threatened to sign this statement in any manner.
I am signing this statement knowingly, voluntarily, and freely.
Cody Smith is accused of Kidnapping and Abusive Sexual Contact.

Attorney Guillermo Lara Jr. is representing Cody Smith.

Cody Smith is my grandson and he has lived in the United States all his life. He has
lived in Collier County all his life. I can provide all income tax returns necessary
for verification of my income and payments I have made on my property. I

presently reside at ee Ft. Myers, Florida 33905. I live in Lee

County.

Before his arrest on March 29, 2020, we hadn’t received any indication that my
grandson was being accused of these crimes. The first time I was made aware of
these charges was when my daughter, Tammy Smith, informed us. My family and I
have lived in Lee County for several years and have no intention of leaving this
location. Cody is a good member of our community and has never been in any
trouble. I know for a fact that Cody is not a threat to anyone and there must be
some misunderstanding. We stand behind Cody and know he will comply with any
conditions this Court may set. Cody is a good grandson and is very responsible.
We are simply asking for this Court to allow him the opportunity to be released on
bond so that he can face these charges. I have always taught my family to face your
problems and know Cody is not a flight risk. We all believe in Cody. I believe in
Cody so much that I am willing to use my property as collateral to assure he
complies with all conditions. I am even wiling to sign as a 3 party custodian.

Growing up, Cody has always been responsible and has never given our family any
issues. I know that Cody is a very hard-working man. I know that my grandson will
comply with all conditions of release and would mortgage our home to allow him
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 26 of 34

the opportunity to be released on bond while he tends to this case. My wife and I
have no doubt that Cody will attend every court date now that he knows he has
court. I do however understand the seriousness of the charges against Cody. That
being said, I would assure this court that if Cody is given an opportunity to be
released on Bond that I would be responsible for assuring that he complies with his
conditions and report any activity that may be out of the ordinary. It would mean a
great deal to our family to have Cody at home with our daughter and back in our
community. My grandson will live with my daughter at BEEN pics,
Florida 34120.

10. Mr. Lara has clearly explained to me that by signing for my grandson, Cody Smith,
I am telling this court that if he violates any conditions of release I will be
responsible for the sum of any unsecured bond and may even lose my home. I
know he will comply and J am willing to take that chance.

Further affiant says not.
Leonard Barshinger

Pursuant to 28 U.S.C. § 1746, and Texas Civil Practice and Remedies Code § 132.001-132.003,
I, Leonard Barshinger hereby declare that I am Leonard Barshinger, am over the age of 18 years,
and am competent to make this affidavit. I have not been forced to sign this declaration or
affidavit, and to the best of my knowledge, all assertions in this declaration and affidavit are

correct and true.
(| / C |
igned on , 2020
’ p

Leonard Barshinger \

Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 27 of 34

DEFENDANT’S
AFFIDAVIT OF FACT OF i eo
STATE OF TEXAS,
)
COUNTY OF BEXAR

I, SUSAN L. BARSHINGER, declare under penalties of perjury that according to my
belief the foregoing information and allegations of this Affidavit are true and correct, and I
hereby say:

1. 1 am Susan L. Barshinger and my DOB ‘'__

2 I have personal knowledge of the facts stated in this affidavit.

3. I have not been compelled or threatened to sign this statement in any manner.
4. I am signing this statement knowingly, voluntarily, and freely.

5. Cody Smith is accused of Kidnapping and Abusive Sexual Contact.

6. Attorney Guillermo Lara Jr. is representing Cody Smith.

7. Cody Smith is my grandson and he has lived in the United States all his life. He has
lived in Collier County all his life. I can provide all income tax returns necessary

for verification of my income and payments | have made on my property. I
presently reside at a Ft. Myers, Florida 33905. I live in Lee

County.

8. Before his arrest on March 29, 2020, we hadn’t received any indication that my
grandson was being accused of these crimes. The first time 1 was made aware of
these charges was when my daughter, Tammy Smith, informed us. My family and I
have lived in Lee County for several years and have no intention of leaving this
location. Cody is a good member of our community and has never been in any
trouble. I know for a fact that Cody is not a threat to anyone and there must be
some misunderstanding. We stand behind Cody and know he will comply with any
conditions this Court may set. Cody is a good grandson and is very responsible.
We are simply asking for this Court to allow him the opportunity to be released on
bond so that he can face these charges. I have always taught my family to face your
problems and know Cody is not a flight risk. We all believe in Cody. I believe in
Cody so much that I am willing to use my property as collateral to assure he
complies with all conditions. | am even wiling to sign as a 3" party custodian.

9. Growing up, Cody has always been responsible and has never given our family any
issues. I know that Cody is a very hard-working man. I know that my grandson will
comply with all conditions of release and would mortgage our home to allow him
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 28 of 34

the opportunity to be released on bond while he tends to this case. I have no doubt
that Cody will attend every court date now that he knows he has court. I do
however understand the seriousness of the charges against Cody. That being said, I
would assure this court that if Cody is given an opportunity to be released on Bond
that I would be responsible for assuring that he complies with his conditions and
report any activity that may be out of the ordinary. It would mean a great deal to
our family to have Cody at home with our daughter and back in our community.
My grandson will live with my daughter a Naples, Florida
34120.

10. Mr. Lara has clearly explained to me that by signing for my grandson, Cody Smith,
I am telling this court that if he violates any conditions of release I will be
responsible for the sum of any unsecured bond and may even lose my home. I
know he will comply and I am willing to take that chance.

Further affiant says not.
Susan Barshinger

Pursuant to 28 U.S.C. § 1746, and Texas Civil Practice and Remedies Code § 132.001-132.003,
I, Susan Barshinger hereby declare that I am Susan Barshinger, am over the age of 18 years, and
am competent to make this affidavit. I have not been forced to sign this declaration or affidavit,
and to the best pf my knowledge, all assertions in this declaration and affidavit are correct and

true.
Signed on , 2020
Susan Barshinger

Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Pagg J

DEFENDANT’S
EXHIBIT

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April, 3 2020

My name is Frances Marie Cannan, | am writing on behalf of Cody Smith. | am a longtime friend of his
parents, Tammy & Donovan Smith. I’ve known them for around 30 years. | know Cody to be a very
sweet, trusting & respectful young man. He remembers my late husband fondly and respectfully. He
always has a great attitude and has shown interest in my well being by checking in with me periodically.
He sends messages to ask how | am, what I’m up to, and to share pictures and stories of his adventures.
| can only say, there must be some mistake, misunderstanding or other part to the story that needs to
come out. | do not believe Cody would ever take anyone against their will or do anything to a person
against their will. Cody is just a young man who chose a path to serve his country and I’m sure he
wouldn’t do anything to jeopardize his future on purpose.

Respectfully,

F. Marie Cannan
239-986-3475
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HONORABLE JUDGE DANT'S
EXHIBIT
STATE OF TEXAS 10

COUNTY OF BEXAR

My name is Allie Smith and I am Cody Donovan Smith's grandmother.
Right now you don't know Cody from Adam but I want that to change.

Cody and I have always had a very close relationship. We have had
many heart-to-heart talks over his lifetime.

Cody was born & raised in Naples, FL, on our lower west coast.
Florida is a very long state. From Cody's home you can drive for 10
hours & you are still in Florida! Cody is very family-oriented. It is his
love of family that led him to take a trip out west to Idaho to stay with
family & work on their ostrich farm. As he was driving out west,
knowing that I would worry, he would often call me to checkin. He
really wasn't aware of crossing state lines unless I specifically asked
him which state he was in. Then he'd have to read me road signs &
we'd figure it out! The fact that he may have taken someone across as
state line, I guarantee, never crossed Cody's mind!

Cody is very trusting. He believes that people are inherently good.

Cody is your typical teenager. (He has only been 20 for a few months).
Like most teens, he loves to drive. His first trip driving alone was 4
hours up to stay for a few days with his grampa & me.

Cody makes friends quickly. He enjoys hanging out with friends. He
is well-liked & has a mixture of male & female friends.

Cody has always helped around the house as well as tending to
animals in his care. Whether walking his dog, his porcupine or
anteater, he took great care of them all!
Case 1:20-cr-00045-NDF Document 22-2 Filed 05/05/20 Page 31 of 34

Page Two

Cody absolutely LOVES history! He would rather watch videos about
history on his computer than anything! He is oriented to
remembering dates & details about historical places & events.

Cody loves to travel & this love has taken him to places that are only
dreams for most of us! Places like Cuba, South Africa & diving on The
Great Barrier Reef in Australia!

Cody is SO excited about his NAVY career! He passed boot camp
training, pushing himself through even though exhausted with

allergies so bad that they caused his sinuses to bleed daily. He told me
that he had to push through to make his family proud!

He loves & cares for people. He has an innate desire to help them,
which lead him to seek a career as a NAVY Corpsman! He is
absolutely over-the-moon excited about that becoming a reality!

Cody gets along with everybody. He doesn't have a vengeful, mean or
hateful bone in his body. Cody is a fierce defender of the underdog!

Cody is very trusting of others. Being in any way aggressive towards
any one is not who Cody is. Cody respects all people and treats them
with kindness & courtesy.

Our family stands united in prayer that God surrounds Cody, giving
him strength & keeping him steadfast in his faith that he will be
brought through this & soon will be back studying for his Corpsman
tests!

We pray for God's guidance for Cody's attorney, judges & all who are
or will be involved in this case. We pray that the justice system does
its' job and Cody, as we all know that he is, will be declared innocent of
both charges & freed!

Thanking you in advance for allowing me to introduce you to our

~~ Aiur anus 41a] 2020

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DEFENDANT’S
EXHIBIT

4/3/2020 1

To Whom It May Concern,

My name is Christy Hamm. | have been a close friend of the Smith family for over 35 years. | have had
the pleasure of knowing Cody since he was born. Since this time, it was clear, Cody has had a love for life
and animals. Cody has always enjoyed meeting new people, taking in the great outdoors, and staying
active. To this day, | have never seen him without a smile or a kind word to share.

| have 2 children of my own and they both grew up with Cody. As children, Caitlin and Dylan would
spend quality time with Cody. Anything from going to the pool to playing in the park. We also spent
most birthday’s together and always had wonderful outdoor celebrations. It didn’t matter how many
people came; Cody played with everyone. No-one was ever excluded if Cody was around. His caring
nature was apparent at a very young age.

As he got older, Cody enjoyed volunteering his time to help on his parent’s wildlife preserve. He shared
in the excitement of every child and adult that came to the preserve to see the animals. He spent time
talking with anyone interested in learning more about the preserve. It was clear he had immense pride
in his work and knew how special it was to be part of it. As a volunteer there myself, it is easy for me to
say that Cody learned excellent moral values because he worked so closely with his parents during this
time.

His passion for life only continued to grow with age. When Cody was in high school, he joined the swim
team and continued to make many friends. When | meet these kids, it was clear they weren’t just good
friends but also good people. It was immediately clear that they were just as kind, respectful, and
trustworthy as Cody. | strongly believe you can learn a lot about a person’s character by the friends they
keep. This was a true testament to that belief.

In Cody’s junior year of high school, he considered joining the military. He spent quite a bit of time
researching all his options before choosing to enlist in the Navy. He met with several recruiters from
different branches before making the best decision for himself. As a retired Army veteran, he looked to
me for advice and guidance on the direction he was considering. He shared all the information he had
found. Cody wanted to be certain he was setting himself up for the brightest future possible. | knew at
that moment that Cody had become a wonderful young man.

Cody is cherished by our family. | am thankful that he has been apart of our life. He is such a dedicated,
brave, and loving young man. He has a passion for life that | haven’t seen before. Cody trusts without
question and loves without reservation. He always has a positive outlook on life. It is easy for me to say
that he will make many valuable contributions in his life.
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Exhibit 12

(Copy of U.S. Passport that
will be surrendered.)
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a 12

